947 F.2d 941
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.J.R. ORGAIN, Jr., Plaintiff-Appellant,v.Clarence T. ORGAIN;  Mrs. Harry Bernard Smith, Defendants-Appellees.
    No. 91-2152.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 30, 1991.Decided Oct. 24, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.   Richard L. Williams, District Judge.  (CA-91-378-R)
      J.R. Orgain, Jr., appellant pro se.
      E.D.Va.
      AFFIRMED.
      Before K.K. HALL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      J.R. Orgain, Jr. appeals from the district court's order which dismissed his complaint as frivolous under 28 U.S.C. § 1915(d) because the court found that it lacked jurisdiction.   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we grant leave to proceed in forma pauperis and affirm on the reasoning of the district court.   Orgain v. Orgain, CA-91-378-R (E.D.Va. Jul. 11, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    